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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

In re: § Chapter 7
§
COUNTRY FRESH HOLDING § Case No.: 21-30574 (MI)
COMPANY INC., et. al.,! §
§ (Jointly Administered)
Debtors. §

NOTICE OF INTENT TO ASSUME AND ASSIGN CERTAIN EXECUTORY
CONTRACTS AND UNEXPIRED LEASES

PLEASE TAKE NOTICE THAT on February 17, 2021, the above-captioned debtors and
debtors in possession (the “Debtors”) filed a motion [Docket No. 51] seeking, among other things,
entry of an order approving the sale of substantially all of the Debtors’ assets (the “Sale”) to the
highest bidder. Stellex/CF Buyer (US) LLC (the “Buyer’’) submitted the highest bid.

PLEASE TAKE FURTHER NOTICE THAT on March 2, 2021, the Debtors filed the
Notice of Executory Contracts and Unexpired Leases that May be Assumed or Assumed and
Assigned in Connection with Sale and the Proposed Cure Amounts with Respect Thereto [Docket
No. 193] (the “Initial Cure Notice”) to provide notice that certain executory contracts and
unexpired leases, including the executory contracts and unexpired leases listed on Exhibit 1
attached hereto (the “Proposed Assumed Agreements”), may be assumed and assigned to Buyer
in connection with the Sale, which notice included proposed Cure Amounts.

PLEASE TAKE FURTHER NOTICE THAT on March 12, 2021, the Debtors filed the
Supplemental Notice of Executory Contracts and Unexpired Leases that May be Assumed or
Assumed and Assigned in Connection with Sale and the Proposed Cure Amounts with Respect
Thereto [Docket No. 264] (the “Supplemental Cure Notice”) to provide notice that certain
additional executory contracts and unexpired leases may be assumed and assigned to Buyer in
connection with the Sale, which notice included proposed Cure Amounts. The executory contracts
and unexpired leases identified in the Supplemental Cure Notice included the Proposed Assumed
Agreements.

PLEASE TAKE FURTHER NOTICE THAT on April 6, 2021, the Debtors filed the
Revised Notice of Executory Contracts and Unexpired Leases that May be Assumed or Assumed

 

| The Debtors in these Chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Country Fresh Holding Company Inc. (7822), Country Fresh Midco Corp. (0702), Country
Fresh Acquisition Corp. (5936), Country Fresh Holdings, LLC (7551), Country Fresh LLC (1258), Country
Fresh Dallas, LLC (7237), Country Fresh Carolina, LLC (8026), Country Fresh Midwest, LLC (0065),
Country Fresh Orlando, LLC (7876), Country Fresh Transportation LLC (8244), CF Products, LLC (8404),
Country Fresh Manufacturing, LLC (7839), Champlain Valley Specialty of New York, Inc. (9030), Country
Fresh Pennsylvania, LLC (7969), Sun Rich Fresh Foods (NV) Inc. (5526), Sun Rich Fresh Foods (USA) Inc.
(0429), Sun Rich Fresh Foods (PA) Inc. (4661). The Debtors’ principal place of business is 3200 Research
Forest Drive, Suite A5, The Woodlands, TX, 77381.

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and Assigned in Connection with Sale and the Proposed Cure Amounts with Respect Thereto
[Docket No. 472] (the “Revised Cure Notice” and together with the Initial Cure Notice and the
Supplemental Cure Notice, collectively, the “Cure Notices”) to provide notice of revised Cure
Amounts relating to certain executory contracts and unexpired leases.

PLEASE TAKE NOTICE THAT on March 29, 2021, the Court entered an order [Docket
No. 436] (as amended, supplemented, or otherwise modified from time to time in accordance with
its terms, together with all exhibits and schedules thereto, the “Sale Order”)* approving the Sale
to the Buyer.

PLEASE TAKE NOTICE THAT, as authorized by the Sale Order, the Debtors and
Buyer entered into that certain Asset Purchase Agreement, dated April 29, 2021, between the
Debtors and the Buyer (as amended, supplemented, or otherwise modified from time to time in
accordance with its terms, together with all exhibits and schedules thereto, the “APA”).

PLEASE TAKE FURTHER NOTICE THAT the Closing of the Sale occurred on April
29, 2021.

PLEASE TAKE FURTHER NOTICE THAT on April 29, 2021, the Debtors filed the
Notice of Closing [Docket No. 548] to provide notice of the Closing.

PLEASE TAKE FURTHER NOTICE THAT on June 21, 2021, the Court entered the
Order (I) Authorizing and Approving the Conversion of the Chapter 11 Cases, (Il) Extending the
Designation Rights Period, and (IIl) Granted Related Relief [Docket No. 719].

PLEASE TAKE FURTHER NOTICE THAT in accordance with the APA and the Sale
Order, the Buyer now seeks to designate the Proposed Assumed Agreements for assumption and
assignment to the Buyer. The Cure Amount with respect to each Proposed Assumed Agreement is
listed on Exhibit 1 attached hereto.

PLEASE TAKE FURTHER NOTICE THAT a proposed form of order to approve the
assumption and assignment to the Buyer of the Proposed Assumed Agreements is attached hereto
as Exhibit 2.

PLEASE TAKE FURTHER NOTICE THAT in accordance with the Sale Order, the
counterparty to the Proposed Assumed Agreement (the “Counterparty”) shall have until August
31, 2021 at 4:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”) to file an objection
to the assumption and assignment to the Buyer of the Proposed Assumed Agreements that relates
to adequate assurance of future performance or a cure issue that could not have been raised in an
objection to the Cure Notices and pertains to matters arising after the Closing.

PLEASE TAKE FURTHER NOTICE THAT any objection to the assumption and
assignment of the Proposed Assumed Agreements must (a) be in writing, (b) state, with specificity,
the legal and factual bases thereof, and (c) be timely filed with the Court and served so as to be
actually received no later than the Objection Deadline by: (i) counsel for the Debtors, Foley &

 

2 Capitalized terms used and not otherwise defined herein shall have the meaning set forth in the APA or the Sale
Order, as applicable.

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Lardner, LLP, at (a) 1000 Louisiana Street, Suite 2000, Houston , Texas 77002 (Attn: Sharon
Marie Beausoleil (sbeausoleil@foley.com)) and (b) 2021 McKinney Ave., Suite 1600, Dallas,
Texas 75201 (Attn: Mark C. Moore (mmoore@foley.com)); (ii) the Office of the U.S. Trustee,
515 Rusk Ave., Ste. 3516, Houston, Texas 77002 (Attn: Stephen Douglas Statham
(Stephen.statham@usdoj.gov)); (iii) counsel for the Buyer, (a) Winston & Strawn LLP, at (i) 200
Park Avenue, New York, NY 10166, (Attn: Carey D. Schreiber, Esq. (cschreiber@winston.com)),
and (ii) 35 W. Wacker Drive, Chicago, Illinois 60601 (Attn: Laura Krucks
(Ikrucks@winston.com)); (iv) counsel for Janet S. Casciato-Northrup, the Chapter 7 Trustee,
Hughes Watters Askanase, LLP, Total Plaza 1201 Louisiana, 28" Floor, Houston, Texas 77002
(Attn: Wayne Kitchens (jwk@hwallp.com), and Heather Heath M«¢clntyre

(HMcintyre@hwallp.com)).

PLEASE TAKE FURTHER NOTICE THAT pursuant to the Sale Order, to the extent
the Counterparty timely files an objection with respect to the assumption and assignment of the
Proposed Assumed Agreements, the Trustee shall be authorized to settle or resolve such objection
pursuant to the terms of the APA and the Sale Order without further order from this Court;
provided, however, that if the Trustee, Buyer, and the Counterparty are unable to resolve such
objection, the Trustee shall schedule the matter for hearing on no less than five (5) Business Days’
notice.

PLEASE TAKE FURTHER NOTICE THAT nothing in this notice shall (i) constitute
an admission that the Proposed Assumed Agreement is an executory contract or unexpired lease
within the meanings of the Bankruptcy Code, (ii) waive the rights of the Buyer to withdraw its
designation to assume and assign the Proposed Assumed Agreement in accordance with Section
2.6(a) of the APA and the Sale Order, including to deliver written notice designating the Proposed
Assumed Agreement for rejection, or (iii) extend the Assumption Effective Date.

Dated: August 17, 2021
Respectfully submitted,
HUGHES WATTERS ASKANASE, LLP

By:__/s/ Heather Heath Mcintyre
Wayne Kitchens - Tex. Bar No. 11541110

wkitchens@hwa.com
Heather McIntyre - Tex. Bar No. 24041076

hmcintyre@hwa.com

Total Plaza

1201 Louisiana, 28" Floor

Houston, Texas 77002

Telephone: (713) 759-0818

Facsimile: (713) 759-6834
ATTORNEYS FOR CHAPER 7
TRUSTEE, JANET S. NORTHRUP

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CERTIFICATE OF SERVICE

On August 17, 2021, the undersigned hereby certifies that a true and correct copy of the
foregoing document was served on (i) parties receiving ECF notification in the above-referenced
case; (11) parties listed on the attached Master Service List via first-class U.S. mail, postage prepaid
to the extent not served via ECF, and (iii) parties listed on the Service List of Proposed Executory
Contracts and Unexpired Leases to be Assumed via first-class U.S. mail, postage prepaid to the
extent not served via ECF.

/s/ Heather Heath McIntyre
Heather Heath McIntyre

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Exhibit 1

Assumed Contracts

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CONTRACT CONTRACT | ASSUME AS CURE
COUNTERPARTY DEBTOR ENTITY TYPE DESCRIPTION DATE AMENDED AMOUNT
BREIT INDUSTRIAL HS COUNTRY FRESH LEASE BREIT INDUSTRIAL LEASE 6/1/2017 $0.00
PROPERTY ORLANDO, LLC TOGETHER WITH ALL
AMENOMENTS
COLFIN 2015-2 COUNTRY FRESH LEASE COLFIN - GRAND PRAIRIE 3/1/2020 $0.00
INDUSTRIAL OWNER LLC | HOLDING LEASE TOGETHER WITH ALL
COMPANY, INC. AMENOMENTS
CORONA INDUSTRIAL SUN RICH FRESH LEASE CORONA INDUSTRIAL 12/1/2020 $0.00
LLC FOODS (USA), INC. LEASE TOGETHER WITH ALL
AMENNDMENTS
HYG FINANCIAL COUNTRY FRESH EQUIPMENT | MASTER LEASE 4/5/2019 $0.00
SERVICES, INC LLC LEASE AGREEMENT # 9411387
MARLIN CAPITAL COUNTRY FRESH EQUIPMENT | EQUIPMENT FINANCE 5/30/2019 $0.00
SOLUTIONS LLC LEASE AGREEMENT # 1358640,
1357173
PINNACLE CENTER 1, COUNTRY FRESH LEASE PINNACLE CENTER 1 LEASE | 9/19/2019 $0.00
LLC HOLDINGS, LLC AGREEMENT TOGETHER
WITH ALL AMENDMENTS
RAYMOND LEASING COUNTRY FRESH EQUIPMENT | WAREHOUSE EQUIPMENT UNKNOWN $0.00
CORPORATION PENNSYLVANIA, LEASE LEASE AGREEMENT
LLC
RAYMOND LEASING COUNTRY FRESH EQUIPMENT | COMPREHENSIVE FIXED 9/25/2019 $0.00
CORPORATION: ARBOR LLC LEASE PRICE MAINTENANCE
MATERIAL HANDLING, AGREEMENT
INC. (PART OF
RAYMOND LEASING
CORPORATION)
RAYMOND LEASING COUNTRY FRESH EQUIPMENT | AGREEMENT 1/6/2020 $0.00
CORPORATION: ARBOR PENNSYLVANIA, LEASE #353241(ADDITIONAL
MATERIAL HANDLING, LLC SCHEDULE UNDER
INC. (PART OF RAYMOND L
RAYMOND LEASING
CORPORATION)
RAYMOND LEASING COUNTRY FRESH EQUIPMENT | AGREEMENT #353242 1/6/2020 $0.00
CORPORATION: ARBOR PENNSYLVANIA, LEASE {ADDITIONAL SCHEDULE
MATERIAL HANDLING, tLC UNDER RAYMOND
INC, (PART OF
RAYMOND LEASING
CORPORATION}
RAYMOND LEASING COUNTRY FRESH EQUIPMENT | AGREEMENT #353243 1/6/2020 $0.00
CORPORATION: ARBOR PENNSYLVANIA, LEASE (ADDITIONAL SCHEDULE
MATERIAL HANDLING, LLC UNDER RAYMOND
INC. (PART OF
RAYMOND LEASING
CORPORATION)
WAL-MART STORES INC | COUNTRY FRESH SUPPLY WALMART SUPPLIER 2/19/17 $0.00
HOLOINGS LLC AGREEMENT | AGREEMENT

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

In re: § Chapter 7
§
COUNTRY FRESH HOLDING § Case No.: 21-30574 (MI)
COMPANY INC., et. al.,' §
§ (Jointly Administered)
Debtors. §

ORDER (I) APPROVING THE ASSUMPTION
AND ASSIGNMENT OF CERTAIN OF THE DEBTORS’ EXECUTORY

CONTRACTS AND UNEXPIRED LEASES AND (1) GRANTING RELATED RELIEF
[Related to Docket No. 51 and ]

Upon consideration of the motion [Docket No. 51] (the “Motion”) of the above-captioned

debtors (the “Debtors”) for the entry of an order pursuant to sections 105(a), 363, and 365 of title

 

11 of the United States Code (the “Bankruptcy Code”), rules 2002, 6004, 6006, 9007, 9008, and
9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Bankruptcy
Local Rules for the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Local Rules”), (i) authorizing the sale of the Assets free and clear of liens,
claims, encumbrances, and other interests, except as provided by that certain Asset Purchase
Agreement, dated as of April 29, 2021, by and between the Debtors and Stellex/CF Buyer (US)
LLC (together with its subsidiaries, collectively, the “Buyer”) (as may be amended, supplemented

or otherwise modified from time to time in accordance with its terms, together with all exhibits

 

! The Debtors in these Chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Country Fresh Holding Company Inc. (7822), Country Fresh Midco Corp. (0702), Country
Fresh Acquisition Corp. (5936), Country Fresh Holdings, LLC (7551), Country Fresh LLC (1258), Country
Fresh Dallas, LLC (7237), Country Fresh Carolina, LLC (8026), Country Fresh Midwest, LLC (0065),
Country Fresh Orlando, LLC (7876), Country Fresh Transportation LLC (8244), CF Products, LLC (8404),
Country Fresh Manufacturing, LLC (7839), Champlain Valley Specialty of New York, Inc. (9030), Country
Fresh Pennsylvania, LLC (7969), Sun Rich Fresh Foods (NV) Inc. (5526), Sun Rich Fresh Foods (USA) Inc.
(0429), Sun Rich Fresh Foods (PA) Inc. (4661). The Debtors’ principal place of business is 3200 Research
Forest Drive, Suite A5, The Woodlands, TX, 77381.

EXHIBIT

1 2

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and schedules thereto, the “APA”)*; and the Court having entered that certain Order Authorizing
Country Fresh Holdings Company Inc. and its Affiliated Debtors to (I) Sell Substantially All of the
Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (II)
Authorizing and Approving the Debtors’ Performance Under the APA, (III) Authorizing and
Approving the Assumption and Assignment of Certain of the Debtors’ Executory Contracts,
Unexpired Leases, and Permits Related Thereto, and (IV) Granting Related Relief [Docket No.
437] (as may be amended, supplemented, or otherwise modified from time to time, the “Sale
Order”); and Janet Northrup, as chapter 7 trustee (the “Trustee”) of the estates of the Debtors
having filed and served, on behalf of the Debtors, a Notice of Intent to Assume [Docket No. 815]
(the “Assumption Notice”); and the Court having reviewed and considered the Motion and other
evidence submitted in support of the Motion, the objections thereto, and the APA; and the Court
having heard statements and arguments of counsel and the evidence presented with respect to the
relief requested in the Motion; and due notice of the Motion, including the Assumption Notice,
having been provided; and the Court having jurisdiction over this matter; and after due deliberation
thereon,

THE COURT HEREBY FURTHER FINDS AND DETERMINES THAT:

1, The Assumption Notice was good, sufficient, and appropriate under the
circumstances and no further notice need be given in respect of the assumption and assignment to
the Buyer of each executory contract or unexpired lease set forth on Exhibit “1” attached hereto

(collectively, the “Assumed Contracts”).

 

2 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the APA or the Sale
Order (as defined herein), as applicable.

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2. The Buyer provided adequate assurance of its future performance under the relevant
Assumed Contracts within the meaning of sections 365(b)(1)(C), 365(b)(3) (to the extent
applicable), and 365(f)(2)(B) of the Bankruptcy Code.

3. The assumption and assignment to Buyer of the Assumed Contracts shall be July
28, 2021 (the “Assumption Effective Date”).

4, All objections to the assumption and assignment of the Assumed Contracts, that
have not been withdrawn, waived, settled, or adjourned, and all reservations of rights included in
such objections or otherwise, are hereby denied and overruled on the merits with prejudice. Each
non-debtor party to any Assumed Contract (“Contract Counterparty”) who did not object, or
withdrew its objections, is deemed to have consented to the assumption and assignment of its
Assumed Contract pursuant to section 365 of the Bankruptcy Code. The findings of fact and
conclusions of law set forth in the Sale Order concerning assumption and assignment shall apply,
be binding upon, be law of the case, and operate to collaterally estop any argument by any Contract
Counterparty.

5. The Trustee is hereby authorized and directed in accordance with sections 105(a)
and 365 of the Bankruptcy Code to (a) assume and assign the Assumed Contracts to the Buyer free
and clear of all Encumbrances, Claims, liens, and other interests of any kind or nature whatsoever
(other than the Assumed Liabilities), subject to the terms of the APA, the Sale Order, and this
Order, as of the Assumption Effective Date and (b) execute and deliver to the Buyer such
documents or other instruments as the Buyer deems necessary to assign and transfer the Assumed
Contracts to the Buyer in accordance with the APA.

6. The payment of the applicable Cure Amounts set forth on Exhibit “1” attached

hereto by the Buyer as required by the APA and this Order shall (a) effect a cure of all defaults

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existing thereunder as of the Assumption Effective Date, (b) compensate for any actual pecuniary
loss to the applicable Contract Counterparty resulting from such default, and (c) together with the
assignment by the Trustee to and the assumption of the Assumed Contracts by the Buyer, constitute
adequate assurance of future performance thereof.

7. Pursuant to section 365(f) of the Bankruptcy Code, the assignment by the Trustee,
on behalf of the Debtors, of the Assumed Contracts shall not be a default thereunder. After the
payment of the relevant Cure Amounts as required by the APA, the Sale Order, and this Order, the
Trustee shall not have any further liabilities to the Contract Counterparties, and the counterparties
shall be estopped from asserting any and all Claims or liens, whether known or unknown, against
the Debtors on account of the Assumed Contracts.

8. Any provisions in any Assumed Contract that prohibit or condition the assignment
of such Assumed Contract to the Buyer or allows a Contract Counterparty to terminate, recapture,
impose any penalty, condition on renewal or extension, or modify any term or condition upon the
assignment of such Assumed Contract to the Buyer, constitute anti-assignment provisions that are
unenforceable and will have no force and effect solely with respect to assumption and assignment
of the Assumed Contracts pursuant to this Order. All other requirements and conditions under
sections 363 and 365 of the Bankruptcy Code for the assumption by the Trustee and assignment
to the Buyer of the Assumed Contracts have been satisfied.

9. Upon the Assumption Effective Date of any Assumed Contract, in accordance with
section 365 of the Bankruptcy Code, the Buyer shall be fully and irrevocably vested with all right,
title and interest of the Debtors under such Assumed Contract. To the extent provided in the APA,
the Trustee shall cooperate with and take all actions reasonably requested by the Buyer to

effectuate the foregoing.

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10. Upon the Assumption Effective Date and the payment of the relevant Cure Amount,
if any, the Buyer shall be deemed to be substituted for the Debtors as a party to the applicable
Assumed Contract and the Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy
Code, from any further liability under such Assumed Contract.

11. | Upon the Assumption Effective Date and the payment of the relevant Cure Amount,
if any, the Assumed Contracts will remain in full force and effect (subject to any amendments
agreed to between the Contract Counterparty and the Buyer), and no default shall exist under the
Assumed Contracts and no Contract Counterparty shall be permitted (a) to declare a default by the
Buyer under such Assumed Contract, or (b) to otherwise take action against the Buyer as a result
of any Debtor’s financial condition, bankruptcy, or failure to perform any of its obligations under
the relevant Assumed Contract. Each Contract Counterparty hereby is also forever barred,
estopped, and permanently enjoined from (a) asserting against the Trustee, the Debtors, or the
Buyer, or the property of any of them, any default or Claim arising out of any indemnity obligation
or warranties for acts or occurrences arising prior to or existing as of the Assumption Effective
Date, or, against the Buyer, any counterclaim, defense, setoff, or any other Claim asserted or
assertable against the Debtors, expect as otherwise provided in this Order, and (b) imposing or
charging against the Buyer or its affiliates any rent accelerations, assignment fees, increases
(including advertising rates), or any other fees as a result of the Debtors’ assumption and
assignments to the Buyer of the Assumed Contracts.

12. Nothing in this Order or the APA shall affect or modify the Trustee’s obligations
pursuant to section 365(d)(3) of the Bankruptcy Code.

13. For the avoidance of doubt and notwithstanding anything to the contrary contained

herein or in the APA, the Buyer shall be liable for all obligations and liabilities under the Assumed

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Contracts that are leases of non-residential real property, as may be modified by agreement of the
Buyer and the Contract Counterparty, to the extent such obligations or liabilities arise or are (as
required by the applicable lease) billed after the Assumption Effective Date, as applicable,
including, but not limited to any and all liabilities or obligations arising under the leases with
respect to any accruing and not yet due adjustments or reconciliations (including, without
limitation, for royalties, percentage rent, utilities, taxes, common area or other maintenance
charges, promotional funds, insurance, fees, or other charges) when billed in the ordinary course,
regardless of whether such obligations or liabilities are attributable to the period prior to the
Assumption Effective Date, as applicable, unless otherwise agreed to in writing by the Buyer and
the Contract Counterparty, in each case subject to the terms and conditions of the lease, as may be
modified by agreement of the Buyer and the Contract Counterparty.

14. Pursuant to sections 105(a) and 365 of the Bankruptcy Code, other than the right to
payment of any Cure Amount, all Contract Counterparties are forever barred and permanently
enjoined from raising or asserting against either the Trustee, the Debtors, or the Buyer any
assignment fee, default, breach, Claim, pecuniary loss, or condition to assignment arising under or
related to the Assumed Contracts existing as of the Assumption Effective Date.

15. | Notwithstanding that as of the Assumption Effective Date, as provided for by this
Order and the APA, the Trustee and the Debtors shall be relieved, pursuant to section 365(k) of
the Bankruptcy Code, from any further liability under the Assigned Contracts, any Contract
Counterparty may seek to recover from the Debtors’ indemnification obligations, if any, arising
from third-party claims asserted with respect to or arising from the Debtors’ use and occupancy of

Leased Real Property prior to the Assumption Effective Date for which the Trustee or the Debtors

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have a duty to indemnify such Lease counterparty pursuant to any Lease, solely with respect to
available insurance coverage.

16. All Contract Counterparties shall cooperate and expeditiously execute and deliver,
upon the reasonable request of the Buyer, any instruments, applications, consents, or other
documents that may be required or requested by any public authority or other party or entity to
effectuate the applicable transfers in connection with the sale of the Acquired Assets.

17. The terms of the Sale Order are incorporated herein and made part of this Order
and each of the Assumed Contracts set forth herein and on Exhibit “1” attached hereto is an
Assumed Contract as set forth in the Sale Order. Except as expressly modified by this Order, the
Sale Order shall remain unchanged and in full force and effect. All factual and other findings and
conclusions of law contained in the Sale Order shall remain fully applicable. Nothing in this Order
shall impact the finality of the Sale Order.

18. | Notwithstanding the provisions of Bankruptcy Rule 6004(h) and Bankruptcy Rule
6006(d), and pursuant to Bankruptcy Rules 7062(g) and 9014, this Order shall not be stayed and
shall be effective immediately upon entry.

19. This Court shall retain jurisdiction to, among other things, interpret, implement,
and enforce the terms and provisions of this Order, the Sale Order, and the APA, all amendments
thereto as well as any waivers and consents thereunder and each of the agreements executed in
connection therewith to which the Debtors are a party and adjudicate, if necessary, any and all

disputes concerning or relating in any way to the Sale.

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EXHIBIT “2”

Exhibit 1

Assumed Contracts

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CONTRACT CONTRACT | ASSUME AS CURE
COUNTERPARTY DEBTOR ENTITY TYPE DESCRIPTION DATE AMENDED AMOUNT
BREIT INDUSTRIAL HS PROPERTY COUNTRY FRESH LEASE BREIT INDUSTRIAL LEASE 6/1/2017 $0.00
ORLANDO, LLC TOGETHER WITH ALL
AMENDMENTS
COLFIN 2015-2 INDUSTRIAL OWNER COUNTRY FRESH LEASE COLFIN - GRAND PRAIRIE LEASE __| 3/1/2020 $0.00
LLC HOLDING COMPANY, TOGETHER WITH ALL
INC. AMENDMENTS
CORONA INDUSTRIAL LLC SUN RICH FRESH FOODS | LEASE CORONA INDUSTRIAL LEASE 12/1/2020 $0.00
(USA), INC. TOGETHER WITH ALL
AMENNDMENTS
HYG FINANCIAL SERVICES, INC COUNTRY FRESH LLC EQUIPMENT | MASTER LEASE AGREEMENT # 4/5/2019 $0.00
LEASE 9411387
MARLIN CAPITAL SOLUTIONS COUNTRY FRESH LLC EQUIPMENT {| EQUIPMENT FINANCE 5/30/2019 $0.00
LEASE AGREEMENT # 1358640, 1357173
PINNACLE CENTER I, LLC COUNTRY FRESH LEASE PINNACLE CENTER 1 LEASE 9/19/2019 $0.00
HOLDINGS, LLC AGREEMENT TOGETHER WITH
ALL AMENDMENTS
RAYMOND LEASING CORPORATION | COUNTRY FRESH EQUIPMENT | WAREHOUSE EQUIPMENT LEASE | UNKNOWN $0.00
PENNSYLVANIA, LLC LEASE AGREEMENT
RAYMOND LEASING CORPORATION: | COUNTRY FRESH LLC EQUIPMENT | COMPREHENSIVE FIXED PRICE 9/25/2019 $0.00
ARBOR MATERIAL HANDLING, INC. LEASE MAINTENANCE AGREEMENT
(PART OF RAYMOND LEASING
CORPORATION)
RAYMOND LEASING CORPORATION: | COUNTRY FRESH EQUIPMENT | AGREEMENT #353241(ADDITIONAL | 1/6/2020 $0.00
ARBOR MATERIAL HANDLING, INC. PENNSYLVANIA, LLC LEASE SCHEDULE UNDER RAYMOND L
(PART OF RAYMOND LEASING
CORPORATION)
RAYMOND LEASING CORPORATION: | COUNTRY FRESH EQUIPMENT | AGREEMENT #353242 1/6/2020 $0.00
ARBOR MATERIAL HANDLING, INC. PENNSYLVANIA, LLC LEASE (ADDITIONAL SCHEDULE UNDER
(PART OF RAYMOND LEASING RAYMOND
CORPORATION)
RAYMOND LEASING CORPORATION: | COUNTRY FRESH EQUIPMENT | AGREEMENT #353243 1/6/2020 $0.00
ARBOR MATERIAL HANDLING, INC. PENNSYLVANIA, LLC LEASE (ADDITIONAL SCHEDULE UNDER
(PART OF RAYMOND LEASING RAYMOND
CORPORATION)
WAL-MART STORES INC COUNTRY FRESH SUPPLY WALMART SUPPLIER AGREEMENT | 2/19/17 $0.00
HOLDINGS LLC AGREEMENT

 

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AKERLY LAW PLLC

(COUNSEL TO BUD'S SALADS INC)

ATTN BRUCE W AKERLY, CARRIE R MCNAIR & ROBERT
N LOUGHRAN

878 S DENTON TAP RD, STE 100

COPPELL, TX 75019

EMAIL: BAKERLY@AKERLYLAW.COM; CMCNAIR@AKERLYLAW.COM;

RLOUGHRAN@AKERLYLAW.COM

ANDREW K ROZELL

(COUNSEL FOR ROBERT REISER & CO, INC.)
323 E JACKSON

HARLINGEN, TX 78550

EMAIL: AKRLAWHARLINGEN@GMAIL.COM

CLARK HILL STRASBURGER

(COUNSEL FOR WASTE MANAGEMENT, INC)

ATTN: ROBERT P. FRANKE, ANDREW G. EDSON &

AUDREY L. HORNISHER

901 MAIN ST, STE 6000

DALLAS, TX 75202-3794

EMAIL: BFRANKE@CLARKHILL.COM; AEDSON@CLARKHILL.COM;
AHORNISHER@CLARKHILL.COM

FEDERAL TRADE COMMISSION
600 PENNSYLVANIA AVE NW
WASHINGTON, DC 20580
EMAIL: ANTITRUST@FTC.GOV

FOLEY & LARDNER LLP
(COUNSEL TO DEBTORS)

ATTN MARK C MOORE

2021 MCKINNEY AVE, STE 1600
DALLAS, TX 75201

MASTER SERVICE LIST

ALDINE INDEPENDENT SCHOOL DISTRICT

ATTN: PAMELA H. WALTERS & VICTORIA VONDER HAAR
2520 W. W. THORNE DRIVE

HOUSTON, TX 77073

EMAIL: BNKATTY@ALDINEISD.ORG

COKINOS YOUNG

(COUNSEL FOR PACKER SANITATION SERVICES INC LTD)

ATTN CRAIG E POWER & MARIA M BARTLETT

FOUR HOUSTON CENTER

1221 LAMAR ST, 16TH FL

HOUSTON, TX 77010

EMAIL: CPOWER@COKINOSLAW.COM; MBARTLETT@COKINOSLAW.COM

FOLEY & LARDNER LLP

(COUNSEL TO DEBTORS)

ATTN JOHN P MELKO & SHARON M BEAUSOLEIL
1000 LOUISIANA ST, STE 2000

HOUSTON, TX 77002

HARRIS BEACH PLLC

{COUNSEL FOR AGPRO FARMS, AGPRO TRUCKING LLC )

ATTN: WENDY A KINSELLA, ESQ, BRIAN D ROY, ESQ,

& LEE E WOODARD, ESQ.

333 WEST WASHINGTON ST, STE 200

SYRACUSE, NY 13202

EMAIL: BKEMAIL@HARRISBEACH.COM; WKINSELLA@HARRISBEACH.COM
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HUGHES HUBBARD & REED LLP

(COUNSEL FOR CENVEO WORLDWIDE LIMITED)
ATTN: CHRISTOPHER GARTMAN, ESQ.

ONE BATTERY PARK PLAZA

NEW YORK, NY 10004-1482

EMAIL: CHRIS.GARTMAN@HUGHESHUBBARD.COM

INTERNAL REVENUE SERVICES
DEPARTMENT OF THE TREASURY
1500 PENNSYLVANIA AVE NW
WASHINGTON, DC 20220

KILPATRICK TOWNSEND & STOCKTON LLP

(COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CRED)
ATTN: KELLY MOYNIHAN

THE GRACE BUILDING

1114 AVE OF THE AMERICAS

NEW YORK, NY 10036

EMAIL: KMOYNIHAN@KILPATRICKTOWNSEND.COM

KLINOWSKI DAMIANO LLP

(COUNSEL TO S&S MARKETING AND SALES, INC. AND C.
LANE COMPANY, LLC)

ATTN: JASON R. KLINOWSKI

PO BOX 43404

BIRMINGHAM, AL 35243

EMAIL: JKLINOWSKI@AGLAWYER.COM

LINEBARGER GOGGNAN BLAIR & SAMPSON LLP
(COUNSEL FOR TARRANT COUNTY, DALLAS COUNTY)
ATTN: ELIZABETH WELLER

2777 N STEMMONS FWY, STE 1000

DALLAS, TX 75207

EMAIL: DALLAS.BANKRUPTCY@PUBLICANS.COM

MASTER SERVICE LIST

INTERNAL REVENUE SERVICES
CENTRALIZED INSOLVENCY OPERATION
PO BOX 7346

PHILADELPHIA, PA 19101-7346

INTERNAL REVENUE SERVICES
LOCAL OFFICE

1100 COMMERCE ST, RM 121
DALLAS, TX 75242

KILPATRICK TOWNSEND & STOCKTON LLP

(COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CRED)
ATTN: PAUL M. ROSENBLATT & TODD C. MEYERS

1100 PEACHTREE ST NE, STE 2800

ATLANTA, GA 30309-4528

EMAIL: PROSENBLATT@KILPATRICKTOWNSEND.COM;
TMEYERS@KILPATRICKTOWNSEND.COM

LINEBARGER GOGGAN BLAIR & SAMPSON LLP

(COUNSEL FOR MONTGOMERY COUNTY, HARRIS COUNTY)
ATTN: JOHN P DILLMAN

PO BOX 3064

HOUSTON, TX 77253-3064

EMAIL: HOUSTON_BANKRUPTCY @PUBLICANS.COM

MARTYN AND ASSOCIATES

(COUNSEL FOR C. H. ROBINSON WORLDWIDE, INC.)
ATTN: MARK A. AMENDOLA

820 W. SUPERIOR AVE, TENTH FLOOR

CLEVELAND, OH 44113

EMAIL: MAMENDOLA@ MARTYNLAWFIRM.COM
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MASTER SERVICE LIST

MEUERS LAW FIRM, P.L.

(COUNSEL TO BELLA PRODUCE, LLC, HANSHAW SALES,
HOUSTON SOUTH MILL, LLC, SOUTH MILL MUSHROOM, LLC,
GRIMMWAY ENTERPRISES, INC.)

ATTN: STEVEN M. DE FALCO

5395 PARK CENTRAL COURT

NAPLES, FL 34109

EMAIL: SDEFALCO@ MEUVERSLAWFIRM.COM

NORTON ROSE FULBRIGHT US LLP

(COUNSEL FOR CORTLAND CAPITAL MARKET SERVICES LLC}
ATTN DAVID ROSENZWEIG, MICHAEL FINGERHUT,

AND STEPHEN CASTRO

1301 AVE OF THE AMERICAS

NEW YORK, NY 10019-6022

EMAIL: DAVID.ROSENZWEIG @NORTONROSEFULBRIGHT.COM;
STEPHEN.CASTRO@NORTONROSEFULBRIGHT.COM;
MICHAEL.FINGERHUT@NORTONROSEFULBRIGHT.COM

OFFICE OF THE UNITED STATES ATTORNEY GENERAL
US DEPARTMENT OF JUSTICE

ATTN: MATTHEW G. WHITAKER

950 PENNSYLVANIA AVE NW

WASHINGTON, DC 20530-0001

OSLER HOSKIN & HARCOURT LLP

ATTN: TRACY SANDLER

100 KING ST W

1 FIRST CANADIAN PL, STE 6200

TORONTO, ON M5X 1B8

CANADA

EMAIL: TSANDLER@OSLER.COM; MCALVARUSO@OSLER.COM;
RBORINS@OSLER.COM; YSAMAD@OSLER.COM

PAUL WEISS RIFKIND WHARTON & GARRISON LLP

(COUNSEL TO AD HOC GROUP OF LENDERS)

ATTN: ELIZABETH R. MCCOLM, JOHN W. WEBER,

GRACE HOTZ, KATE AMATO, DIANE MEYERS, THERESA LII,

CATHERINE GOODALL AND JOSEPH FRIEDMAN

1285 AVE OF THE AMERICAS

NEW YORK, NY 10019-6064

EMAIL: EMCCOLM@PAULWEISS.COM; JWEBER@PAULWEISS.COM;
GHOTZ@PAULWEISS.COM; DMEYERS@PAULWEISS.COM; TLI@PAULWEISS.COM;
CGOODALL@PAULWEISS.COM; KAMATO@PAULWEISS.COM

MONCRIEF & HART PC

(COUNSEL FOR RIVER FRESH FOODS, LLC AND BLAZER
WILKINSON, LP)

ATTN: DENNIS LEWIS

16 W GABILAN ST

SALINAS, CA 93901

EMAIL: DENNIS@ MONCRIEFHART.COM

NORTON ROSE FULBRIGHT US LLP

(COUNSEL TO CAPITAL MARKET SERVICES LLC)

ATTN: BOB B. BRUNER

1301 MCKINNEY, STE 5100

HOUSTON, TX 77010

EMAIL: BOB. BRUNER@NORTONROSEFULBRIGHT.COM

OFFICE OF THE UNITED STATES TRUSTEE
FOR THE SOUTHERN DISTRICT OF TEXAS
ATTN: STEPHEN DOUGLAS STATHAM

515 RUSK ST, STE 3516

HOUSTON, TX 77002

EMAIL: STEPHEN.STATHAM@USDOJ.GOV;
HECTOR.DURAN.JR@USDOJ.GOV

PAHL & MCCAY

(COUNSEL FOR FLEXIBLE FUNDING LTD., LIABILITY CO.)
ATTN: CATHERINE SCHLOMANN ROBERTSON, ESQ.
225 WEST SANTA CLARA STREET, SUITE 1500

SAN JOSE, CA 95113-1752

EMAIL: CROBERTSON@PAHL-MCCAY.COM

PERDUE BRANDON FIELDER COLLINS & MOTT LLP
(COUNSEL TO WOODLANDS METRO CENTER MUD)
ATTN: OWEN M. SONIK

1235 N LOOP W, STE 600

HOUSTON, TX 77008

EMAIL: OSONIK@PBFCM.COM
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PERDUE, BRANDON, FIELDER COLLINS & MOTT LLP
(COUNSEL FOR ARLINGTON ISD}

ATTN: EBONEY COBB

500 E BORDER STREET, SUITE 640

ARLINGTON, TX 76010

EMAIL: ECOBB@PBFCM.COM

RAMEY & FLOCK, P.C.

(COUNSEL FOR CUSTOM PRODUCE SALES & PACIFIC SALES)
ATTN: STEVE SPITZER

100 E FERGUSON, STE 404

TYLER, TX 75702

EMAIL: SSPITZER@RAMEYFLOCK.COM

SCHLANGER SILVER LLP

(COUNSEL FOR CAMBRIAN INNOVATION, INC.)
ATTN: JULIA A. COOK

109 NORTH POST OAK LANE, STE 300
HOUSTON, TX 77024

EMAIL; JCOOK@SCHLANGERSILVER.COM

SINGER & LEVICK, P.C.

(COUNSEL FOR BREIT INDUSTRIAL HS PROPERTY OWNER)
ATTN: MICHELLE E. SHRIRO, ESQ.

16200 ADDISON ROAD, SUITE 140

ADDISON, TX 75001

EMAIL: MSHRIRO@SINGERLEVICK.COM

SPENCE, DESENBERG & LEE, PLLC

(COUNSEL FOR EFFEX MANAGEMENT SOLUTIONS, LLC)
ATTN: ROSS SPENCE & HENRY W. KNIGHT

1770 SAINT JAMES PLACE, STE 625

HOUSTON, TX 77056

EMAIL: ROSS@SDLLAW.COM; HENRY@SDLLAW.COM

MASTER SERVICE LIST

PORTER HEDGES LLP

{COUNSEL TO AD HOC GROUP LENDERS)

ATTN: JOHN F. HIGGINS, M. SHANE JOHNSON & MEGAN
YOUNG-JOHN

1000 MAIN ST, 36TH FL

HOUSTON, TX 77002

EMAIL: JHIGGINS@ PORTERHEDGES.COM; MYOUNG-
JOHN@PORTERHEDGES.COM; SJOHNSON@PORTERHEDGES.COM

RYNN & JANOWSKY, LLP

(COUNSEL FOR CUSTOM PRODUCE SALES & PACIFIC SALES)
ATTN: ELISE O'BRIEN & R. JASON READ

2603 MAIN ST, STE 1250

IRVINE, CA 92614

EMAIL: JASON@RJLAW.COM;ELISE@RJILAW.COM

SECURITIES & EXCHANGE COMMISSION
100 F ST NE

WASHINGTON, DC 20549

EMAIL: CHAIRMANOFFICE@SEC.GOV

SPECTOR & COX, PLLC

(COUNSEL TO DIAMOND ONIONS, INC.)
ATTN: HOWARD MARC SPECTOR

12770 COIT RD, STE 1100

DALLAS, TX 75251

EMAIL: HSPECTOR@SPECTORCOX.COM

STATE OF TEXAS ATTORNEY GENERAL
ATTN: KEN PAXTON

300 W 15TH ST

AUSTIN, TX 78701
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STATE OF TEXAS ATTORNEY GENERAL
ATTN: KEN PAXTON

PO BOX 12548

AUSTIN, TX 78711-2548

TEXAS STATE SECURITIES BOARD

THOMAS JEFFERSON RUSK STATE OFFICE BDLG
208 E 10TH ST

AUSTIN, TX 78701

THE UNITED STATES ATTORNEYS OFFICE
FOR THE SOUTHERN DISTRICT OF TEXAS
ATTN: RICHARD A KINCHELOE

1000 LOUISIANA ST

HOUSTON, TX 77002

EMAIL: RICHARD.KINCHELOE@USDOJ.GOV

THORNTON GROUT FINNIGAN LLP

(COUNSEL FOR COURT APPOINTED MONITOR)
ATTN: REBECCA KENNEDY & PUYA J. FESHARAK!
TD WEST TOWER, TORONTO-DOMINION CENTRE
100 WELLINGTON ST. W., STE 3200

TORONTO, ON MSK 1K7

CANADA

EMAIL: RKENNEDY@TGF.CAPFESHARAKI@TGF.CA

UNITED STATES PATENT AND TRADEMARK OFFICE AND
THE UNITED STATES COPYRIGHT OFFICE

101 INDEPENDENCE AVE SE

WASHINGTON, DC 20559-6000

MASTER SERVICE LIST

STOKES LAW OFFICE LLP

{COUNSEL TO CLASSIC HARVEST LLC, CENTRAL AMERICAN)
ATTN: CRAIG A. STOKES, ESQ. & MARLEEN W. COBB

3330 OAKWELL COURT, STE 225

SAN ANTONIO, TX 78218

EMAIL: CSTOKES@STOKESLAWOFFICE.COM;
MCOBB@STOKESLAWOFFICE.COM

THE TEXAS COMPTROLLER

ATTN: COURTNEYJ. HULL, ASSISTANT ATTORNEY GENERAL
BANKRUPTCY & COLLECTIONS DIVISION MC 008

P.O. BOX 12548

AUSTIN, TX 78711-2548

EMAIL: BK-CHULL@OAG.TEXAS.GOV

THOMPSON, O'BRIEN, KEMP & NASUTI, P.C.
(COUNSEL FOR O'ROURKE DIST. CO., LLC, D/B/A
O'ROURKE PETROLEUM)

ATTN: ALBERT F. NASUTI, ESQ.

2 SUN COURT, SUITE 400

PEACHTREE CORNERS, GA 30092

UNITED STATES CUSTOMS AND BORDER PROTECTION
1300 PENNSYLVANIA AVE NW
WASHINGTON, DC 20229

US ENVIRONMENTAL PROTECTION AGENCY
ATTN: SCOTT PRUITT, ADMINISTRATOR

ARIEL RIOS BLDG, 1200 PENNSYLVANIA AVE NW
WASHINGTON, OC 20460
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VILLEDA LAW GROUP

(COUNSEL FOR AMH PRODUCE COMPANY)
ATTN: ANTONIO VILLEDA, MARK TALBOT

6316 NORTH 10TH STREET, BLDG. B

MCALLEN, TX 78504

EMAIL: AVILLEDA@MYBUSINESSLAWYER.COM;
MTALBOT@MYBUSINESSLAWYER.COM

WALKER WILCOX MATOUSEK LLP

(COUNSEL FOR AMAZON PRODUCE NETWORK LLC)
ATTN: TONY L DRAPER

1001 MCKINNEY, STE 2000

HOUSTON, TX 77002

EMAIL: TORAPER@WALKERWILCOX.COM

WINSTON & STRAWN LLP

(COUNSEL TO STELLEX/CF BUYER (US), LLC)
ATTN: LAURA KRUCKS

35 W. WACKER DRIVE

CHICAGO, IL 60601

MASTER SERVICE LIST

VORYS, SATER, SEYMOUR AND PEASE LLP
(COUNSEL FOR INTERITY EXPRESS LOGISTICS LLC)
ATTN: STEVEN R. RECH

$09 FANNIN ST, STE 2700

HOUSTON, TX 77010

EMAIL: SRECH@VORYS.COM

WINSTON & STRAWN LLP

(COUNSEL FOR STELLEX/CF BUYER (US), LLC)
ATTN: CAREY D. SCHREIBER

200 PARK AVENUE

NEW YORK, NY 10166

EMAIL: CSCHREIBER@WINSTON.COM

LEE E. WOODARD

HARRIS BEACH PLLC

333 WEST WASHINGTON STREET, SUITE 200
SYRACUSE, NY 13202

EMAIL: LWOODARD@HARRISBEACH.COM
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Service List — Proposed Executory Contracts and Unexpired Leases to be Assumed

BREIT INDUSTRIAL HS PROPERTY
PO BOX 208017
DALLAS, TX 75320-80174

MARLIN CAPITAL SOLUTIONS
300 FELLOWSHIP RD
MOUNT LAUREL, NJ 08054

RAYMOND LEASING CORPORATION
PO BOX 301580
DALLAS, TX 75303

WAL-MART STORES INC.
ATTN: GENERAL MERCHANDISE MGR
702 SW 8" ST
BENTONVILLE, AR 72716

COLFIN 2015-2 INDUSTRIAL OWNER LLC

ATTN: ASSET MANAGER
13727 NOEL RD, STE 750
DALLAS, TX 75240

CORONA INDUSTRIAL LLC
C/O CBRE INC
ATTN: PROPERTY MANAGER
4141 INLAND EMPIRE BLVD, STE 100
ONTARIO, CA 91764

HYG FINANCIAL SERVICES, INC.
PO BOX 35701
BILLINGS, MT 59107

PINNACLE CENTER 1, LLC
5100 W JB HUNT DRIVE, SUITE 800
ROGERS, AR 72758
